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IN THE UNITED STATES COURT OF APPEALS

FOR THE FIFTH CIRCUIT
4:18-CV-4069

No. 19-20408
SEAN WARAICH,
United States Courts
Plaintiff - Appellant Southern District of Texas
FILED
Vv. July 22, 2019

David J. Bradley, Clerk of Court
NATIONAL AUSTRALIA BANK LIMITED; INTERNATIONAL CAPITAL

MARKETS PROPRIETARY LIMITED,

Defendants - Appellees

 

Appeal from the United States District Court
for the Southern District of Texas

 

Before DAVIS, OWEN, and OLDHAM, Circuit Judges.
PER CURIAM:

This court must examine the basis of its jurisdiction on its own motion if
necessary. Hill v. City of Seven Points, 230 F.3d 167, 169 (5th Cir. 2000). In
this case, the plaintiff filed a notice of appeal from the district court’s order
denying his motion for default judgment. “Federal appellate courts have
jurisdiction over appeals only from (1) a final decision under 28 U.S.C. § 1291;
(2) a decision that is deemed final due to jurisprudential exception or that has
been properly certified as final pursuant to Fed. R. Civ. P. 54(b); and
(3) interlocutory orders that fall into specific classes, 28 U.S.C. § 1292(a), or
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that have been properly certified for appeal by the district court, 28 U.S.C. §
1292(b).” Askanase v. Livingwell, Inc., 981 F.2d 807, 809-10 (5th Cir. 1993).
Waraich filed a notice of appeal from the district court’s order denying
his motion for default judgment. But that order does not fit any of the
categories listed above. See Adult Film Ass’n of Am. v. Thetford, 776 F.2d 118,
115 (5th Cir. 1985) (per curiam). Accordingly, the appeal is DISMISSED for

want of jurisdiction.

 

A True Copy
Certified order issued Jul 22, 2019

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Clerk, U.S. Court of Appeals, Fifth Circuit
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United States Court of Appeals
FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W, CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

July 22, 2019

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 19-20408 Sean Waraich v. National Australia Bank

Ltd., et al
USDC No. 4:18-CV-4069

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,
LYLE W. CAYCE, Clerk
By:

Dawn M. Shulin, Deputy Clerk
504-310-7658

 

ce w/fencl:
Ms. Kathleen S. McArthur
Mr. Sean Waraich
